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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JOHN DOE,                                             )
                                                      )
                       Plaintiff,                     )
                                                      )
         v.                                           )       Civil Action No. 22-3345 (UNA)
                                                      )
UNITED STATES OF AMERICA, et al.,                     )
                                                      )
                       Defendants.                    )

                                              ORDER

         The Court’s November 8, 2022, Order (ECF No. 3) denied without prejudice plaintiff’s

Motion to File Under Seal and Proceed Anonymously, directed plaintiff to refile his motion by

November 15, 2022, and if plaintiff failed to file his motion timely, directed the Clerk of Court to

strike plaintiff’s Motion to Confirm the Arbitration Award on the docket and not refile the

Motion unless plaintiff wishes to proceed with filing the Motion on the public docket. By

Minute Order on November 18, 2022, the Court denied plaintiff’s motion for reconsideration

(ECF No. 4). The Clerk of Court has stricken the Motion to Confirm the Arbitration Award, and

because plaintiff has not notified the Court of his intention to proceed on the public docket, it is

hereby

         ORDERED the complaint and this civil action are DISMISSED WITHOUT

PREJUDICE.

         The Clerk of Court shall TERMINATE this case.

         SO ORDERED.



DATE: February 24, 2023                                       /s/
                                                              RUDOLPH CONTRERAS
                                                              United States District Judge
